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In the United States District Court for the OCT 2 7 2004

  
 

Western District of Texas CLERK, U_S_ D|
Del Rio Division B‘¢ESTER~ D»sr
iN THE MATTER oF §
§ DR 04-CA-090
NORMAN J. sILVERMAN §
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Respondent N orman J. Silverman’s Response to
Order to Show Cause

Defendant Norman J. Silverman files the following response to the Court’s
October 12, 2004 order to show cause.

l. Respondent’s statement under penalty of perjury, explaining the
circumstances preceding his nonappearance before the Court at the docket call on
October 12, 2004, and his letter of apology to the Court, expressing his genuine
remorse and regret for this incident, are attached

2. ln the present circumstances, under well-established precedent, an
adjudication of criminal contempt under 18 U.S.C. § 402 and F. R. Cr. Proc. 42(b)
requires evidence and a finding that the accused willfully or recklessly disregarded
his obligation to appear before this Court. Here, Respondent made two timely
appearances before the United States Magistrate Judge in Mr. Deras’s case, at his
initial appearance and detention hearing, and at subsequent depositions of material
witnesses He has explained the scheduling conflict that was the immediate cause

of his failure to appear, and the pressures of trial preparation and resulting lapse of

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memory that caused him to lose track of the scheduled docket call in this case
There is nothing to suggest that Respondent has acted in bad faith or in an effort to
gain some advantage as an advocate before this Court. He simply overlooked the
docket call. While “[s]uch negligence is not to be condoned, . . . [a] finding that
this single incident demonstrated reckless disregard of an order of the court
sufficient to support an adjudication of criminal conduct and the imposition of a
punitive fine [would be] clearly erroneous.” In re Adams, 505 F.2d 949, 950 (5
Cir. 1974); see also In re Greene, 213 F.?>d 223, 225 (5 Cir. 2000) (attorney, 12
minutes late for court, “deserved an admonition about checking his calendar and
being on time; but criminal contempt should not have been on the judge’s radar
screen for this minor infraction”).

For the foregoing reasons, Respondent Norrnan J. Silverman respectfully
moves that the Court dismiss the order to show cause, or, alternatively, following
hearing, that the Court find that Respondent is not guilty of criminal contempt

Respectfully submitted,

 

 

ICHAEL A. MANESS

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Attorney for Respondent
Norman J. Silverman

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Certif“lcate of Service
l certify that on October 26, 2004, 1 have served a copy of the foregoing
Respondent Norman J. Silverman’s Response to Order to Show Cause upon

counsel for the Government, by Federal Express, at the following address:

Robert Brady

Assistant United States Attorney
111 E. Broadway, Room 300
Del Rio TX 78840

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MICHAELX. MANESS

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In the United States District Court for the
Western District of Texas
Del Rio Division

IN THE MATTER OF
DR 04-CA-090
NORMAN J. SILVERMAN

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Respondent Norman J. Silverman’s Statement Under Penalty of Perjury

My name is Norman J. Silverman. l am a licensed Texas attomey. I am
making this statement, under penalty of perjury, to explain the circumstances that
resulted in my failure to have appeared before this Court at the docket call on
October 12, 2004 at 9:00 a.m. in the case of United States of Amerz`ca v. Juan
Antom`o Deras.

l was set for trial as defense counsel on October 12, 2004 in two state
criminal prosecutions, No. 991,792 and No. 991,793, T he State of Te)cas v. Albert
Allen Ruiz, in the 180th District Court of Harris County, Texas. Mr. Ruiz was
charged in one case with theft of more than $l million, a first-degree felony under
Texas law, and in the other case with theft of more than $100,000, a second-degree
felony. The State was seeking to use evidence in one case as extraneous offense
evidence in the other case.

Sixteen days before the scheduled trial date, on a Friday, the State filed more
than 10,000 pages of business records, under both case numbers, with the Clerk of

the District Court, and gave notice to defense counsel that such records were

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available for inspection On the Monday after the records were filed, l was
scheduled for trial in a murder case in the 228th District Court, styled State of T exas
vs. Jerry Thomas, and in a misdemeanor prostitution case in County Criminal
Court Number 15. I went to trial in the County Court 15. The murder case was
reset. On Tuesday, 1 prepared for oral argument in Xavz`er Barocio v. State of
Texas, in the Court of Criminal Appeals. On Wednesday, 1 argued that case in
Austin. On Thursday, I attended a detention hearing in a felony juvenile case in Ft.
Bend, County. I also obtained bond in another unrelated felony case in Ft. Bend
County, on the same day. On Thursday, l informed the Visiting Judge, Mary
Bacon of the need for the continuance She ordered a hearing on Friday and
ordered that l immediately begin reviewing the records. I immediately went to the
office of the District Clerk and requested to see the records. The Clerk informed
me that no records had been filed. l obtained an affidavit to that effect On Friday,
l presented the affidavit to the Court, together with a motion for continuance The
Court denied the request for a continuance and ordered all lawyers to remain in the
courthouse until the records were found. First, one group of records were found.
Later, the remainder were found. Monday, l appeared for trial and reurged the
continuance motion. Again, it was denied. The Court ordered that I continue to
review documents l did so. Trial was carried until the following day, Tuesday,

the day I regrettably failed to appear in this case. On Tuesday, l expected trial to

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commence but it did not. l continued to review records. My office phoned me
and told me I had missed this appearance l phoned the Court to explain what had
occurred l left a message on the case manager’s answering machine I received
notice of the contempt citation a few days later.

I filed a motion for continuance which I had expected the trial court to
grant. Instead, the trial court denied the continuance

l did not willfully or deliberately fail to appear at the docket call in this
Court on October 12, 2004, I simply overlooked this setting, as the result of

complete immersion in, and preoccupation with, the defense of Albert Ruiz.

Signed on October 26, 2004, ®\ §

NoRM<I./SILVERMAN

 

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October 26, 2004

Honorable Alia Moses Ludlum
United States District Judge
111 E. Broadway

Del Rio, Texas 7 8840

Dear Judge Ludlum:

l am writing this letter to express to you my sincere and profound apology and regret
for having failed to appear before the Court at the docket call on October 12, 2004. lam truly
sorry for this inexcusable lapse, which was wholly unintended, and which resulted from one of
those inexplicable oversights that I have great difficulty explaining

I am very much aware of how important it is for me to make timely appearances before
the Court, and how my nonappearance could and probably did disrupt the Court’s handling of
my client’s case 1 am particularly sorry that my preoccupation with the Ruiz trial in the state
court here in Houston was so complete that I did not even remember to telephone the Court’s
staff to explain the scheduling conflict that had arisen. That would have been simple courtesy.
Needless to say, if I had remembered my obligation to appear before you, I would never have
allowed this to happen.

This has truly been an embarrassing and humiliating experience for me. Being cited for
criminal contempt by a federal court is both frightening and humbling. lt has caused me to
completely change my routine, to verify that all of my court appearances are properly on my
calendar, and to insure that l actually read the calendar, even if I’m caught up in a difficult
and demanding trial, as I was in this instance

I hope you will accept my apology and believe that l had no intention to deliberately
disregard my obligations as an officer of the court, or to demonstrate any disrespect for you, I
am very, very sorry.

OUI’S,

Norm .Silverman

